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EXHIBIT M

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,

Plaintiff,

v.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-cv-00103-ART-CLB

EXHIBIT M —- EMAIL NOTICE OF SOCIAL MEDIA CENSORSHIP

(Bates No. EX031)

Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P. 56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit M, an email sent by Plaintiff to Carson City
District Attorney Jason Woodbury and Sheriff Ken Furlong on January 19, 2024, obtained via
Plaintiff's records and Carson City’s public email system. Filed manually per LR IC 2-2 witha
Notice of Manual Filing, this exhibit stands alone as evidence of Plaintiff's pre-censorship
notice to Defendants of First Amendment violations, while cross-referencing Exhibits C, D, E, F

H, I, J, K, and L to support Plaintiffs claims and Rule 56 motion.

Key Evidence and Legal Violations:

PLEADING TITLE - 1

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Section Incident Legal Relevance Cross-Reference
2
First Amendment retaliation
3
4 — pre-censorship notice
5 ignored, followed by continued
Plaintiff emails DA
6 deletions (Exhibit L), violates
7 Woodbury and Sheriff Exhibits C
public forum speech
8 Furlong (1/19/2024), (01:01:40.583,
(O '‘Connor-Ratcliff v. Garnier,
9 reporting CCSO deletion of 01:05:13.333), D
10 601 U.S. 1448. Ct. 717
Email comments about Plaintiff's (0:20:56), E (0:01:04—
1 (2024); Knight First
Notice arrest video (Exhibit C), 0:01:20), F (EX001—
12 Amendment Inst. v. Trump, 928
3 (Bates — citing O ’Connor-Ratcliff v. EX002), H (EX016—
P.3d 226 (2d Cir. 2019);
14 || EX031) Garnier, and requesting EX018), 1 (EX019-
Packingham v. North Carolina,
15 cessation of censorship; EX021), J (EX027), K
(6 582 U.S. 98 (2017)); Monell
precedes CCSO deletions of (EX028), L (EX029-
17 custom post-arrest (Exhibit F)
33 comments (1/22— EX030)
18 and dismissal (Exhibit K); ties
19 1/23/2024).
to retaliation for recording
20
(Nieves v. Bartlett, 139 S. Ct.
21
1715 (2019)).
23
24
25 || Legal Claims Supported:
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27
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PLEADING TITLE - 2

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I ¢ First Amendment (42 U.S.C. § 1983): Retaliatory censorship following a notice violates

to

public forum rights (O 'Connor-Ratcliff v. Garnier, 144 S. Ct. 717 (2024); Knight,

Davison, Packingham, Fordyce, Glik, Irizarry, Nieves, Umbehr, Mack v. Williams).
5 e Fourth Amendment: Ongoing retaliation tied to malicious prosecution (Thompson,
6 Devenpeck, Soldal).

7 ¢ Fifth Amendment: Late Miranda warning (Exhibit D), fueling censorship.

8 ¢ Eighth Amendment: Hotboxing (95°F, no ventilation), censored in comments.
: e Fourteenth Amendment: Procedural due process violations (Muthews, Parratt);

1 economic harm to A&A Towing (Meyer, Lewis).

12 ¢ Municipal Liability: Post-notice censorship ratified by CCSO and DA despite warning
13 (Monell).

"4 e State Law Claims: Oppression under color of law (NRS 197.200), interference with
economic advantage (28 U.S.C. § 1367).

17

'9 ||Summary Judgment Purpose (Fed. R. Civ. P. 56):

21 || Exhibit M’s pre-censorship notice shows Defendants were warned of First Amendment

°2 || violations but proceeded to delete 33 public comments (Exhibit L, EX029) and block Plaintiff's
23

Audit Reno page (Exhibit L, EX030). This proves ongoing retaliation post-dismissal (Exhibit K),
24
45 leaving no genuine dispute of material fact. No reasonable jury could find Defendants’ actions

26 || justified, entitling Plaintiff to summary judgment as a matter of law.

PLEADING TITLE - 3

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' || Qualified Immunity Defeat:

3 || Defendants’ actions contravene clearly established rights (Pearson, Harlow, Kingsley, Knight,

4 Garnier). The censorship post-notice shows objective unreasonableness. “Security” or
5
“moderation” defenses fail under O’Connor-Ratcliff, Nieves, and Kingsley standards.
6
7
8

9 || Authentication:

10 || Per Fed. R. Evid. 901 1, Drew J. Ribar, declare under penalty of perjury this email (Bates
EX031) was sent by me to Carson City officials on January 19, 2024, and accurately reflects my
2
: notice of Defendants’ censorship.
14

Dated: March 27, 2025
/s/ Drew J. Ribar

17 || Drew J. Ribar
18 |13480 Pershing Ln, Washoe Valley, NV 89704

Tel: (775) 223-7899 | Email: Const2Audit@gmail.com

PLEADING TITLE - 4

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AFFIDAVIT OF DREW J. RIBAR AUTHENTICATING EXHIBIT M

I, Drew J. Ribar, declare and state as follows:

1.

I am the Plaintiff in the above-captioned matter, proceeding pro se. I make this
declaration based on personal knowledge and in support of the attached Exhibit M filed
with my Amended Complaint and Summary Judgment Motion in Case No. 3:24-cv-

00103-ART-CLB.

. On January 19, 2024, at 12:52 PM Pacific Time, | authored and transmitted an email

from my email address (Const2Audit@gmail.com) to Carson City District Attorney Jason
Woodbury and Carson City Sheriff Ken Furlong. The subject line of the email was

“Deleting social media.”

. The purpose of the email was to notify Carson City officials that multiple individuals,

including myself, observed the Carson City Sheriff's Office deleting public Facebook
comments related to my August 30, 2022 arrest, the associated video footage, and
criticism of Deputy Jason Bueno’s conduct.

The body of the email referenced the YouTube video documenting the incident (linked
in Exhibit C) and cited Garnier v. O ‘Connor-Ratcliff, then pending before the United
States Supreme Court. The message demanded that the Carson City Sheriff's Office
cease its censorship and blocking of public comments on its official Facebook page.

I referenced and attached a screenshot titled “20240119 104539 Facebook.jpg” to the
email, which visually supported my claim that Facebook comments related to my arrest

were being deleted. The attachment was sent as part of the same email communication. A

copy of that screenshot is available and will be provided to the Court if requested.

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6. A true and correct copy of that email, as sent, is attached as Exhibit M and has been

assigned Bates No. EX031.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on: March 27, 2025

Washoe Valley, Nevada

/s/ Drew J. Ribar

Drew J. Ribar

3480 Pershing Ln

Washoe Valley, NV 89704

Tel: (775) 223-7899

Email: Const2Audit@gmail.com

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From: Const2Audit

To: Jason Woodbury; Ken Furlong
Subject: Deleting social media

Date: Friday, January 19, 2024 12:52:59 PM

Attachments: screenshot 20240119 104539 Facebook.jpg

This message originated outside of Carson City's email system. Use caution if this
message contains attachments, links, or requests for information.

Greetings,
People are reaching out to me in the comments section of the Bueno hotboxing video

https://voutu.be/__VDhqH Haw0?si=S7v_u340xVPz-uW])

stating the Carson City Sheriff is deleting peoples comments regarding this incident.

The 9th Circuit Garnier v Oconner-Ratcliff, now beofre the Supreme Court ruled that
government social media cannot block or sensor people. | recommend listening the the
Justices questions https://youtu.be/wmF ef 1Jm1-k?si=LwzH2GEWeutBs3eu

Please stop blocking people from speaking on social media, spreading and disseminating
Deputy Bueno unconstitutional and criminal acts.

Respectfully,
Drew Ribar

Auditing Reno 911

EXOF/

